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US. District Court
Northern District of Alabama (Southern)
CIVIL DOCKET FOR CASE #: 2:12-cv-02537-RDP

Carder et al v. Blue Cross and Blue Shield of Alabama et al

Assigned to: Judge R David Proctor
Lead case: 2:12-cv-01133-RDP
Member case: (View Member Case)
Cause: 15:15 Antitrust Litigation

Plaintiff
Thomas A Carder, Jr

Plaintiff

Industrical Sales & Service LLC
on behalf of themselves and all others
similarly situated

V.
Defendant

represented by

represented by

Date Filed: 07/24/2012
Jury Demand: Plaintiff
Nature of Suit: 410 Anti-Trust
Jurisdiction: Federal Question

Adam W Pittman

JOHN D SAXON PC

2119 Third Avenue North
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205-324-0223

Fax: 205-323-1583

Email: apittman@saxonattorneys.com
ATTORNEY TO BE NOTICED

John D Saxon

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Birmingham, AL 35203
205-324-0223

Fax: 205-323-1583

Email: jsaxon@saxonattorneys.com
ATTORNEY TO BE NOTICED

Adam W Pittman
(See above for address)
ATTORNEY TO BE NOTICED

John D Saxon
(See above for address)
ATTORNEY TO BE NOTICED

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Blue Cross and Blue Shield of represented by Carl S Burkhalter

Alabama MAYNARD COOPER & GALE PC
AmSouth Harbert Plaza, Suite 2400
1901 6th Avenue North
Birmingham, AL 35203-2618
254-1000
Ematt:
cburkhalter@ maynardcooper.com
ATTORNEY TO BE NOTICED

James L Priester

MAYNARD COOPER & GALE PC
2400 Regions/Harbert Plaza

1901 Sixth Avenue N

Birmingham, AL 35203
205-254-1000

Fax: 205-254-1999

Email: jpriester@ maynardcooper.com
ATTORNEY TO BE NOTICED

Pamela B Slate

HILL HILL CARTER FRANCO COLE
& BLACK PC

425 S Perry Street

Montgomery, AL 36104

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Fax: 334-386-4381

Email: pslate@hillhillcarter.com
ATTORNEY TO BE NOTICED

Defendant

Blue Cross and Blue Shield
Association

Date Filed # | Docket Text
07/24/2012

COMPLAINT against Blue Cross and Blue Shield Association, Blue Cross and

I
Blue Shield of Alabama, filed by Industrical Sales & Service LLC, Thomas A
Carder, Jr.(KAM, ) (KAM, ). (Entered: 07/25/2012)
07/27/2012 Filing Fee: Filing fee $ 350, receipt_number 1126-1719169. related document |

COMPLAINT against Blue Cross and Blue Shield Association, Blue Cross and
Blue Shield of Alabama, filed by Industrical Sales & Service LLC, Thomas A
Carder, Jr(KAM, } (KAM, ).. (Pittman, Adam)NDAL rec# B4601035664
Modified on 8/2/2012 (KAM, ). (Entered: 07/27/2012)

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ORDER-By agreement of the parties, it is ORDERED that case 2:12-cv-
2537-TMP will be consolidated with 2:12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
01133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-ev-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

ORDER -It is the courts intent to appoint Interim Lead Class Counsel pursuant
to Federal Rule of Civil Procedure 23(g)(3) in these consolidated cases.
Applications and/or nominations for the Interim Lead Class Counsel position
must be filed with the Clerks Office electronically on or before Tuesday,
September 4, 2012. Signed by Judge R David Proctor on 7/27/2012. Associated
Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/27/2012

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Transcript of Proceedings held on 7/25/2012, before Judge R. David Proctor.
Court Reporter/Transcriber Anita McCorvey, Telephone number 205-278-2063.
Transcript may be viewed at the court public terminal or purchased through the
Court Reporter/Transcriber before the deadline for Release of Transcript
Restriction, After that date it may be obtained through PACER. NOTICE: The
parties have seven (7) calendar days to file with the Court a Notice of Intent to
Request Redaction of this transcript. If ae such Notice ts filed. the transeript wil!
be made remotely electronically availabie to the public without redaction after
90 calendar days. (A copy can be obtained at http://www.alnd.uscourts.gov/local
/court forms/transcripts/Transcript Redaction Policy.pdf) See Transcript
Redaction Policy Redaction Request due 8/21/2012. Redacted Transcript
Deadline set for 8/31/2012. Release of Transcript Restriction set for 10/29/2012.
Associated Cases: 2:12-cvy-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-
RDP(AVC) (AVC, ). (Entered: 07/3 1/2012)

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Amended Transcript of Proceedings held on 7/25/2012, before Judge R. David
Proctor. Court Reporter/Transcriber Anita McCorvey, Telephone number
205-278-2063. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for
Release of Transcript Restriction. After that date it may be obtained through
PACER. NOTICE: The parties have seven (7) calendar days to file with the
Court a Notice of Intent to Request Redaction of this transeript. Hf no such
Notice Is fled. the transcript will be made remotely electronically available to
the public without redaction atter 90 calendar days. (A copy can be obtained at
http://www.alnd.uscourts.gov/local/court forms/transcripts/Transcript Redaction
Policy.pdf) See Transcript Redaction Policy Redaction Request due 8/23/2012,
Redacted Transcript Deadline set for 9/4/2012. Release of Transcript Restriction
set for 10/31/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,

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2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-
RDP(AVC) (Entered: 08/02/2012)

ORDER-This matter is before the court on the Provider Pltfs' Motion to
Consolidate and Establish Seperate Track (#2 in 2:12-cv-02532-LSC). By
agreement of the parties and over no objection from others, it is ORDERED that
the motion is GRANTED, and that case 2:12-cv-2532-LSC, be consolidated
with case 2:12-cv-1133-RDP. In the future, all other documents should be
electronically filed only in the lead case, Richards, et al. v. Blue Cross and Blue
Shield of Alabama, et al., 2:12-CV-01133-RDP. Signed by Judge R David
Proctor on 8/6/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cy- 02532- RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/07/2012)

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NOTICE of Appearance by James L Priester on behalf of Blue Cross and Biue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02 169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: }2-cv-
02532-RDP, 2:12-cv-02537-RDP(Priester, James) Modified on 8/10/2012
(AVC). (Entered: 08/10/2012)

08/16/2012 8 | NOTICE of Appearance by Carl S Burkhalter on n behalf of Blue Cross and Blue |
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(Burkhalter, Carl) Modified on 8/16/2012
(AVC). (Entered: 08/16/2012)

08/17/2012 9 | STIPULATION (Agreed) of the Conway Parties by Blue Cross and Blue Shield
Association, filed by Blue Cross and Blue Shield Association Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02.185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-

RDP( West, Kimberly) (Entered: 08/17/2012)

08/17/2012 10 | NOTICE of Appearance by Pamela B Slate on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shield of Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Slate, Pamela) (Entered: 08/17/2012)

08/20/2012 ll | MOTION for Leave to Appear pro hac vice of Charles R. Watkins by Chris
Bajalieh, Consumer Financia] Education Foundation of America Inc. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/20/2012 12 | MOTION for Leave to Appear pro hac vice of John R. Wlie by Chris Bajalieh,
Consumer Financia] Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-

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RDP(Guin, David) (Entered: 08/20/2012)

08/21/2012 13 | ORDER-Before the court is the Motion for Admission Pro Hac Vice of Charles
R. Watkins (59 in 2:12-cv-01133-RDP). The motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Watkins SHALL: pay the $50 filing fee,
and Certify to the court that he has read and understands: any local rules
applicable in this District; the Alabama State Bar Pledge of Professionalism; this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2: 12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 id | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalieh, |
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: !2-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: [2-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/21/2012)

08/21/2012 15 | CERTIFICATE of Counsel of Charles R. Watkins in support of Motion te to

Appear Pro Hac Vice by David J Guin on behalf of Chris Bajalieh, Consumer

Financial Education Foundation of America Inc Associated Cases: 2:12-cv-

01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,

2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Guin, David)
(Entered: 08/21/2012)

08/21/2012 PHV Fee paid: $100.00, Receipt# B4601036372 for Attorneys Charles R.
Watkins and John R. Wylie. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/2 1/2012 §6 | ORDER-Before the court is Motion for Admission Pro Hac Vice of John R.
Wylie (62 in 2:12-cv-01133-RDP). The Motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Wylie SHALL: pay the $50 filing fee, and
Certify to the court that he has read and understands: any local rules applicable
in this District; the Alabama State Bar Pledge of Professionalism; and this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2: 12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/27/2012 [7 | NOTICE of Appearance by J Bentley Owens, III on behalf of Premera Blue
Cross of Alaska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2; 12-cv-
02532- RDP, 2: 12-cv-02537-RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 18 MOTION for Leave to Appear Pro Hac Vice for Gwendolyn C. Payton by
Premera Blue Cross of Alaska. (Attachments: # 1 Exhibit A)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-ev-

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02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 19 | MOTION for Leave to Appear Pro Hac Vice for Erin M. Wilson by Premera
Blue Cross of Alaska, (Attachments: # 1 Exhibit A)Associated Cases: 2:12-cv-
OL133-RDP, 2: 12-ev-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Owens, J)

08/27/2012
Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743 100 (ALND# B4601036527).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2; 12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC), (Entered:

08/27/2012 20 | NOTICE of Appearance by John M Johnson on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-¢v-02532-RDP, 2:12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 21 | NOTICE of Appearance by Brian P Kappel on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kappel, Brian) (Entered: 08/27/2012)

08/27/2012 22 | MOTION for Limited Admission (Pro Hae Vice of Kathleen Taylor Sooy) by
Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas
City, Blue Cross and Blue Shield of Nebraska. (Attachments: # 1 Exhibit
lAssociated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: 12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

PHV Fee paid: $50, Receipt# 1126-1743195 (ALND# B4601036529).
Associated Cases: 2:]12-cv-01133-RDP, 2:12-cy-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(VJohnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 23. | MOTION for Limited Admission (Pro Hac Vice of Tracy A. Roman) by Blue
Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas City,

08/27/2012

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Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
!)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-

02 169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743214 (ALND# B4601036530).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2: 12-cv-02537-RDP(VJohnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/29/2012 24 | ORDER: 70 and 71 , Motions for Leave to Appear PHV for Kathleen Taylor
Sooy and Tracy Roman are GRANTED; 66 and 67 , Motions for Leave to
Appear Pro Hac Vice for Gwendolyn Payton and Erin Wilson are
CONDITIONALLY GRANTED, as further set out in order. Signed by Judge R
David Proctor on 08/29/12. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(CVA) Modified on 8/29/2012 (CVA),
(Entered: 08/29/2012)

NOTICE of Appearance by Cavender C Kimble on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Biue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Biue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2: 12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012

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08/30/2012 26 | MOTION for Leave to Appear Pro Hac Vice Craig A. Hoover by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

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08/30/2012 27 | MOTION for Leave to Appear Pro Hac Vice J. Robert Robertson by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Minnesota, Blue Cross
and Blue Shield of North Carolina, Blue Cross and Blue Shield of South
Carolina, Hawati Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc. Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kimble,
Cavender) (Entered: 08/30/2012)

08/30/20 12 28 | MOTION for Leave to Appear Pro Hac Vice Emily M. Yinger by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Biue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Biue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cy-
02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-R DP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 29 | MOTION for Leave to Appear Pro Hac Vice £. Desmond Hogan by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawali Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases; 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-ev-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 30 | NOTICE of Appearance by D Keith Andress on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,

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08/30/2012 31 | MOTION for Leave to Appear Pro Hac Vice N. Thomas Connally by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 32 | NOTICE of Appearance by Kevin R Garrison on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,

2: £2-cv-02532-RDP, 2:12-cv-02537-RDP(Garrison, Kevin) (Entered:
08/30/2012)

08/30/2012 33 | NOTICE of Appearance by Emily M Yinger on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) (Entered:
08/30/2012)

08/30/2012 34 | NOTICE of Appearance by N Thomas Connally, II on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Blue Cross and Blue Shield of
Tennessee, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-

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2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Connally, N)

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Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:[2-cv-01133-RDP,
2:12-cv-O1910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E) (Entered:
08/30/2012)

08/30/2012 36 | NOTICE of Appearance by Craig A Hoover on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Biue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Biue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02 169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) (Entered:

08/30/2012)

08/31/2012 37 | NOTICE of Appearance by J Robert Robertson on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-

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02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Robertson, J) (Entered:
08/3 1/2012)

08/31/2012 38 | ORDER-Before the court are Motions for Admission Pro Hac Vice on behalf of
Craig A. Hoover 74 , J. Robert Robertson 75 , Emily M. Yinger 76 , E.
Desmond Hogan 77 , and N, Thomas Connally 79 . The motions are
CONDITIONALLY GRANTED. By 9/7/2012, the Attorneys seeking admission
SHALL pay the $50 pro hac vice fee; and Certify to the court that they have
read and understand: any local rules applicable in this District; the Alabama
State Bar Pledge of Professionalism; this court's CM/ECF requirements. Signed
by Judge R David Proctor on 8/30/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:{2-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered:

08/3 1/2012)

08/3 1/2012 PHV Fee paid: $250.00, Receipt# B4601036604, for Attorneys Craig A.
Hoover, J. Robert Robertson, Emily M. Yinger, E. Desmond Hogan and N.
Thomas Connally. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-
0)2532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/3 1/2012)

09/04/2012 39 | NOTICE of Compliance re: Attorneys Gwendolyn C. Payton and Erin M.
Wilson by Premera Blue Cross of Alaska re (31 in 2:12-cv-02532-
RDP)(Attachments: # | Exhibit Application and Declaration of Gwendolyn C.
Payton in Support of Motion for Admission Pro Hac Vice, #2 Exhibit
Application and Declaration of Erin M. Wilson in Support of Motion for
Admission Pro Hae Vice)Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: [2-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J) Modified on 9/4/2012
(AVC). (Entered: 09/04/2012)

09/04/2012 40 | MOTION to be Appointed Lead Counsel in the Provider Track by Jerry L
Conway. (Attachments: # 1 Exhibit 1, #2 Exhibit 2)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,

2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP( Whatley, Joe)
Modified on 9/4/2012 (AVC). (Entered: 09/04/2012)

09/04/2012 41 | Brief re(50 in 2:12-cv-01133-RDP) Order,, Application to Appoint Cohen

Mustein as interim Class Counsel and John D. Saxon as Interim Liaison

Counsel. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #4 Exhibit

D, # 5 Exhibit E, # 6 Exhibit F, #7 Exhibit G, # 8 Exhibit H)Associated Cases:

2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-

02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Small, Daniel) (Entered: 09/04/2012)

09/04/2012 42 | JOINT Application of Boies, Schiller & Flexner LLP, Donaldson & Guin, LLC,
and Pittman, Dutton & Hellums, PC to Serve as Interim co-Lead Counsel by

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Nicholas A Layman, One Stop Environmental, LLC. (Attachments: # | Exhibit
A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:{2-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Hellums, Christopher) Modified on 9/5/2012 (AVC). (Entered:
09/04/2012)

09/04/2012 43 | MOTION to Appoint Counsel Greg Davis Interim Lead Class Counsel in the
Subscriber Track by GC Advertising LLC. Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Davis, Gregory)
Modified on 9/5/2012 (AVC). (Entered: 09/04/2012)

CERTIFICATION of Emily M. Yinger Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) Modified

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09/05/2012 45 | CERTIFICATION of N. Thomas Connally Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2: 12-cv-02525-RDP, 2:12-cy-02532-RDP, 2: 12-cv-02537-RDP(Connally, N)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 46 | CERTIFICATION of E. Desmond Hogan Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, BE)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 47 | CERTIFICATION of Craig A. Hoover Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 48 | CERTIFICATHON of J. Robert Robertson Associated Cases: 2:12-cv-
01133-RDP, 2:12-cy-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Robertson, J)

09/06/2012 49 | SUPPLEMENT to the Application to Appoint Cohen Milstein as Interim Class
Counsel and John D. Saxon as Interim Liason Counsel (89 in 2:12-cv-
01133-RDP) by Thomas A Carder, Jr, Industrical Sales & Service LLC,
American Electric Motor Services Inc, Fred R Richards, Richards and Sons
Construction Company Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Small, Daniel} Modified on 9/7/2012
(AVC). (Entered: 09/06/2012)

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‘OSIIp B pey oaeY palayuo sjUepuajoq YOM OMI sylomede pedayr out pz
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Tlay] pue “soJoUMAOD ayeIsJoyUT Ul peseBue ore Yogod pue Ty-Ssaog ‘AjSurpioooy ‘soqeis
SUIOY MSY} FO aplsMO [SAB] SIaqUIOUL SHI USYM so}e1g peyUy sy} jnoYysnomy osye pue eureqery Jo
7215 SY} Ul SIOQUISUT S}I JO} oreo yeoy soseyoind Jy-Sqog ‘ANUNOS oy punoze pure euregely
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seraeduoo Joquoul 1Y81o-AuIy] ay], “UCezTURSI0 Spey sprmuoneue si SHOG  *¢7
‘SOIDUIUOD aeISIOPUT pojoopje AT[eLUeysqns pue JO Moy ou) UIA dI9M “yuIEydu0D

si Ul poquosap se ‘sioyeltdsuco-0o Itsy} pue sjuepusjead JO SOmIAnoe oyy, “ZZ
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VSdOd Jo Ar0ystH

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‘SUOTIEIOOSSE P[OTYS an] g_ PUe SsOIZD oN] g_ SY] JO VONLULIO} oy) sous SIPOA OM IBAQ “SE
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Aq ‘seaTforus worm sy ¢ pey sued partys anjg pue ssoxp ong ‘sog61 OM AG “EE
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Alive oj} Ul posiolll UOISSTUMMLOD SSOID onfg ot) PUR UONeLDOssY PPIYs oNigouy, -ZE
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and JO UoHRLOOSsy 0} SUTeU s}L pasueyoO sue[g sted [ROIpeyl payeroossy ‘sQg6] Apes oy} UT
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“supyd Jaquisul ou) pue veg pg Sucwe
pue Aq UoReoo]pe [eHOyL9} [eJUOZLOY poyeU v SY JUSUIZIITY OSUDSI] VWSGOM UL “EF
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SI Joy UeULOYS ot] JO | UOTOOg Jo UOTepOIA Wi ‘seaneyuasaidar remo Io ‘syuase ‘saoAoduie

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YT INQOO
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‘SUINToteId Jomo] pue eureqeTy Ul souRMsUl TyeoY
Joy UoLedtioS sIOU 9q P[Rom sI9Y] ‘soosusDT] WSGO Ioyjo usass-AyM ay} pue “Ty-sqog

“VSGOG Aq OFUI posoyS syeuIssSe uoNPooye Joye peSoYI om soy mG ‘fp
‘sumiueid souRINsUr UITEoy
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PPS sn[g pue ssoiD onjg Tim ajoduioo prnom seruedmoo joquiowl ySqoq Jeyjo ‘sjusumeise
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INOUIIM JTQIssod oq jou prnom summed poyeyfUL pue uoyNedur0s peonper si], ‘Or
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‘sooy S AoULO}E B[qeUOseal SulpNpoU! ‘IMs Jo sjsoo pure ‘Mey IsMAUe [eIepoy o1 JeEnsmd
Page oq 0} ‘soseWep Yoos siaquIoUI ssE[D oy] pue syHUTeIg ‘A[Surpi0cooy “IS
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